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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Shakiema Johnson
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−06079
                                                      Honorable Andrea R. Wood
Pizza Hut, Inc., et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 12, 2017:


        MINUTE entry before the Honorable Andrea R. Wood: Plaintiff having filed a
notice of voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) [14], this case is
dismissed without prejudice and with each party to bear its own attorneys' fees and costs.
All pending hearing dates and motions are stricken. Civil case terminated. Mailed
notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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